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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF WISCONSIN



LUFT, et al.,
                          Plaintiffs,

     v.                                                                  Case No. 3:20-cv-00768-jdp


EVERS, et al.,

                          Defendants.

                                        MOTION TO APPEAR PRO HAC VICE


          Dale E. Ho                            of    American Civil Liberties Union Foundation
                    Attorney                                                     Firm

 respectfully requests that this Court grant admission pro hac vice in the above matter. I certify that I am an
 attorney in good standing licensed to practice in             New York              .
                                                              Jurisdiction




                                Dated this 2nd day of     September, 2020



                                s/ Dale E. Ho


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